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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


RED LODGE ALES BREWING                            CV 20-119-BLG-SPW-TJC
COMPANY, a Montana Corporation,

                    Plaintiff,                    ORDER

vs.

AXIOM LLC d/b/a LOCKHORN
HARD CIDER, a Montana limited
liability company,

                    Defendant.

      Defendant moves for the admission of David N. Draper to practice before

this Court in this case with Robert C. Lukes to act as local counsel. Mr. Draper’s

application appears to be in order.

      Accordingly, IT IS HEREBY ORDERED that Defendant’s motion to admit

David N. Draper pro hac vice is GRANTED on the condition that Mr. Draper shall

do his own work. This means that Mr. Draper must do his own writing, sign his

own pleadings, motions, and briefs, and appear and participate personally.

Counsel shall take steps to register in the Court’s electronic filing system (“CM-

ECF”). Further information is available on the Court’s website,

www.mtd.uscourts.gov, or from the Clerk’s Office. Mr. Draper may move for the

admission pro hac vice of one (1) associate of his firm. Such associate, if duly
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admitted, shall be authorized to participate in this case on the same terms and

conditions as Mr. Draper.

      IT IS FURTHER ORDERED that this Order is subject to withdrawal unless

Mr. Draper, within fifteen (15) days of the date of this Order, files a pleading

acknowledging his admission under the terms set forth above.

      DATED this 20th day of October, 2020.

                                       _______________________________
                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge
